
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 



NO. 2-07-033-CV

THOMAS JAY DANGERFIELD	APPELLANT



V.



JACOB ORMSBY AND ACADEMY, LTD.	APPELLEES



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FROM THE 342
ND
 
DISTRICT COURT 
OF TARRANT COUNTY

----------

MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

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On April 10, 2007, we notified appellant that his brief had not been filed as required by Texas Rule of Appellate Procedure 38.6(a). &nbsp;T
EX.
 R. A
PP.
 P. 38.6(a). &nbsp;We stated we could dismiss the appeal for want of prosecution unless appellant or any party desiring to continue this appeal filed with the court within ten days a response showing grounds for continuing the appeal. &nbsp;We have not received any response.

Because appellant’s brief has not been filed, we dismiss the appeal for want of prosecution. &nbsp;
See
 T
EX
. R. A
PP
. P. 38.8(a)(1), 42.3(b).

Appellant shall pay all costs of this 
appeal, for which let execution issue.



PER CURIAM 		





PANEL D: &nbsp;LIVINGSTON, DAUPHINOT, and HOLMAN, JJ.



DELIVERED: &nbsp;May 3, 2007

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




